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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA


 GALEN SWAN,                           )
                                         Case No. 3:15-cv-0012 JWS
                                       )
                    Plaintiff,         )
                                       )
                                         JOINT STIPULATION
        vs.                            )
                                         FOR DISMISSAL
                                       )
 UNITED STATES OF AMERICA              )
                                       )
                    Defendant.         )
                                       )
                                       )


      The parties, through counsel, stipulate to dismiss the above matter

with prejudice, with each party to bear its own costs and attorney fees.




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       RESPECTFULLY SUBMITTED this 19th day of May, 2017, in

Anchorage, Alaska.

                                             BRYAN SCHRODER
                                             Acting United States Attorney

                                             s/ Susan J. Lindquist
                                             Assistant U.S. Attorney
                                             Attorney for Defendant


                                             Law Offices of David Henderson

                                             s/ David N. Henderson (consent)
                                             Attorney for Plaintiff




CERTIFICATE OF SERVICE
I hereby certify that on May 19, 2017,
a copy of the foregoing
was served via electronic service on:

David Henderson, Esq.


s/ Susan J. Lindquist




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